                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 4:15-cr-13-TRM-SKL
v.                                                    )
                                                      )
JOHN CLIFFORD AMASON                                  )


                             REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on March 23, 2016.

At the hearing, defendant moved to withdraw his not guilty plea to Count One of the three-count

Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

that is of conspiracy to distribute and possess with intent to distribute five grams or more of

methamphetamine (actual), a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,

841(a)(1), and 841(b)(1)(B) in exchange for the undertakings made by the government in the written

amended plea agreement. On the basis of the record made at the hearing, I find the defendant is

fully capable and competent to enter an informed plea; the plea is made knowingly and with full

understanding of each of the rights waived by defendant; the plea is made voluntarily and free from

any force, threats, or promises, apart from the promises in the amended plea agreement; the

defendant understands the nature of the charge and penalties provided by law; and the plea has a

sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

One of the Indictment be granted, his plea of guilty to the lesser included offense of the charge in

Count One of the Indictment, that is of conspiracy to distribute and possess with intent to distribute

five grams or more of methamphetamine (actual), a Schedule II controlled substance, in violation

of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) be accepted, the Court adjudicate defendant guilty



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of the lesser included offense of the charge in Count One of the Indictment, that is of conspiracy to

distribute and possess with intent to distribute five grams or more of methamphetamine (actual), a

Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) , and

a decision on whether to accept the amended plea agreement be deferred until sentencing. I further

RECOMMEND defendant remain in custody until sentencing in this matter. Acceptance of the

plea, adjudication of guilt, acceptance of the amended plea agreement, and imposition of sentence

are specifically reserved for the district judge.


                                               s/ fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




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